

People v Young (2017 NY Slip Op 05393)





People v Young


2017 NY Slip Op 05393


Decided on June 30, 2017


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on June 30, 2017

PRESENT: WHALEN, P.J., CENTRA, CARNI, LINDLEY, AND SCUDDER, JJ. (Filed June 30, 2017.)


MOTION NOS. (153-154/96) KA 05-01122.

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT, 
vCHRISTOPHER YOUNG, DEFENDANT-APPELLANT. (APPEAL NO. 1.)
KA 05-01123.THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT,
vCHRISTOPHER YOUNG, DEFENDANT-APPELLANT. (APPEAL NO. 2.)



MEMORANDUM AND ORDER
Motion for writ of error coram nobis denied.








